Case 2:24-cv-02439-BMC           Document 42     Filed 01/31/25     Page 1 of 2 PageID #: 272
    BRUCE A. BLAKEMAN                                                   THOMAS A. ADAMS
      County Executive                                                    County Attorney




                                     COUNTY OF NASSAU
                                OFFICE OF THE COUNTY ATTORNEY

                                                             January 31, 2025
 Via ECF
 Honorable Brian M. Cogan
 United States District Court
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re:     Kahlon v. County of Nassau, et al.
                Docket No. 24-CV-02439 (BMC)


 Your Honor:

        This office represents defendant County of Nassau (the “County”) in the above-
 referenced matter. For the reasons set forth below, the County respectfully requests that the
 Court grant an extension of time, from January 31, 2025 to February 7, 2025 to serve and file
 its motion for summary judgment pursuant to Fed. R. Civ. P. 56. However, as explained
 below, in view of today’s developments, Your Honor may decide to remand the entire case to
 Nassau County Supreme Court since the only remaining claims are State law claims.

         This afternoon at 1:36 p.m. counsel for plaintiff Yossef Kahlon advised the Court that
 plaintiff has withdrawn all pending federal claims against defendant/counterclaim plaintiff
 Celine Boulben (“Boulben”) [DE 40] and requested that this action be remanded to State
 court. Previously, plaintiff withdrew all federal claims against the County, leaving only one
 state law malicious prosecution claim to be either disposed on the County’s motion or, should
 the Court deny this motion, it will be tried to a jury in federal court.

          The County has no objection to the Court remanding this action to State court.
 However, since the County’s motion is to be served and filed by today, and since as a Sabath
 observer I must leave the office today no later than 3:30 p.m., I respectfully request an
 extension of time to February 7, 2025 to serve and file the County’s motion in the event Your
 Honor decides to retain jurisdiction over the remaining State law claims. At 1:31 p.m. I sent
 an email request to all counsel asking that they join me in a telephone call to Chambers. Since
 I did not receive any response, I called Chambers several minutes ago and was directed to file
 this letter application.

         Therefore, defendant County respectfully requests that the Court grant an extension of
 time, from January 31, 2025 to February 7, 2025 for the County to serve and file its motion.




                    ONE WEST STREET – MINEOLA, NEW YORK 11501-4820
                            516-571-3056, FAX 516-571-6684, 6604
Case 2:24-cv-02439-BMC          Document 42        Filed 01/31/25    Page 2 of 2 PageID #: 273



           As always, the County thanks Your Honor for your attention and consideration in this
 matter.

                                                             Respectfully submitted,

                                                             /s/ Ralph J. Reissman
                                                             RALPH J. REISSMAN
                                                             Deputy County Attorney
 cc: (via ECF)
 All counsel of record




                                               2
